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                                                                                                          IN THE UNITED STATES DISTRICT COURT
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                                                                                                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                              UNITED STATES OF AMERICA,                                No. CR 05-0638 SI
                                                                         7
                                                                                             Plaintiff,                                FINAL PRETRIAL SCHEDULING
                                                                         8                                                             ORDER
                                                                                v.
                                                                         9
                                                                              ROY ALBERT LEWIS,
                                                                         10
                                                                                             Defendant.
                                                                         11                                             /
United States District Court
                               For the Northern District of California




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                                                                                     On July 18, 2006, the Court held a final pretrial conference in the above captioned matter, which
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                                                                              is set for jury trial beginning July 31, 2006. All parties were represented by counsel. The following
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                                                                              matters were resolved:
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                                                                                     1.      Trial schedule: The parties expect that the case will take 5-6 days to complete. The
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                                                                              Court does not hear trials on Fridays (although deliberating juries may continue their deliberations on
                                                                         18
                                                                              Friday). The trial day runs from 8:30 a.m. until 3:00 p.m., with a 15 minute break at 10:00 a.m., a 30
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                                                                              minute break at 11:45 a.m. and a 15 minute break at 1:45 p.m., all times approximate.
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                                                                                     2.      Number of jurors and challenges: There shall be a jury of twelve members, plus two
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                                                                              alternate jurors. The government shall have six peremptory challenges, the defendant shall have ten
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                                                                              peremptory challenges, and each side shall have one additional peremptory challenge for the alternates.
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                                                                                     3.      Voir dire: The parties may propose a jointly submitted juror questionnaire, which the
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                                                                              Court will consider for presentation to the jury panel first thing in the morning on July 31, 2006. If that
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                                                                              procedure is followed, voir dire questioning in the courtroom will not begin until approximately noon
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                                                                         1    that day. Otherwise, voir dire questioning will begin in the courtroom at approximately 8:30 a.m. In
                                                                         2    either event, the court will conduct some general voir dire orally, and counsel for each side shall have
                                                                         3    up to 30 minutes total to question the panel. If the parties wish to propose a jointly submitted
                                                                         4    questionnaire, it must be provided to the Court no later than Thursday, July 27, 2006.
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                                                                         6           4.      Jury instructions: The Court received separate sets of proposed jury instructions from
                                                                         7    the parties. Substantive instructions will be finalized before closing arguments. The parties are directed
                                                                         8    to provide the Court with jointly-submitted preliminary instructions, including, a short description of
                                                                         9    the two offenses charged in this case and their elements, no later than Friday, July 28, 2006.
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                                                                         11
United States District Court




                                                                                     5.      Trial exhibits: No later than July 28, 2006, the plaintiff shall submit its trial exhibits,
                               For the Northern District of California




                                                                         12   in binders with numbered tabs separating and identifying each exhibit. The court shall be provided with
                                                                         13   three sets (for the court, the file and the witness) and one set shall be provided to defendant. Defendant
                                                                         14   may also submit his trial exhibits in the same manner at that time, but is not required to do so.
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                                                                         16          6.      Motions in limine: At the pretrial conference, defendant presented 4 motions in limine,
                                                                         17   as follows:
                                                                         18                  1.      Defendant Roy Albert Lewis’s motion to reserve the right to request
                                                                         19   additional Jencks Act material and to object to the government’s exhibits: GRANTED.
                                                                         20                  2.      Defendant Roy Albert Lewis’s motion in limine regarding the admissibility
                                                                         21   of alleged co-conspirator statements: Defendant moves to exclude “co-conspirator acts and
                                                                         22   statements” under FRE 104(a). The government responds with a general showing of its evidence related
                                                                         23   to the existence of the Tower conspiracy and defendant’s involvement in it. At oral argument, defense
                                                                         24   counsel emphasized that the basis for this objection is defendant’s contention that the government has
                                                                         25   not connected defendant to the over-arching Tower conspiracy or the actions of the other Tower
                                                                         26   conspirators, thus rendering general evidence concerning the Tower conspiracy irrelevant. To this
                                                                         27   extent, defendant’s motion is DENIED. The Court finds that the government’s preliminary showing of
                                                                         28   defendant’s actions (including the trial exhibits listed at page 3 of the government’s memorandum in

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                                                                         1    opposition) is sufficient to allow admission of evidence concerning the existence and operation of the
                                                                         2    Tower conspiracy. However, this ruling is without prejudice to specific objections to specific questions
                                                                         3    at trial, and in particular to specific objections to questions seeking to elicit extrajudicial statements of
                                                                         4    co-conspirators which are offered for the truth of the matters asserted, under FRE 104(a).
                                                                         5                    3.      Defendant Roy Albert Lewis’s motion in limine to exclude the Wells Fargo
                                                                         6    Selected Suspicious Activity Report: Defendant objects that this report was not produced timely and
                                                                         7    that it will engender “class prejudice” against defendant because it demonstrates that defendant was
                                                                         8    handling large amounts of cash and that he is a “wealthy doctor who lives in an expensive house.” The
                                                                         9    government represents that it does not intend to offer this report into evidence in its case in chief, but
                                                                         10   it does intend to call a witness from Wells Fargo who will testify that defendant obtained a $650,000
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United States District Court




                                                                              mortgage on his home, which was appraised at $1,785,000, and that from May 2003 through May 2006
                               For the Northern District of California




                                                                         12   he made his $4,216.50 monthly payments on this mortgage in cash. The government asserts that this
                                                                         13   evidence is relevant to Count 1 of the indictment, conspiracy to defraud the US by preventing the IRS
                                                                         14   from collecting taxes, and that its probative value outweighs any prejudicial effect. The Court agrees.
                                                                         15   To the extent that payments made after the date of the indictment are referred to, the Court finds that
                                                                         16   such evidence constitutes part of the same transaction or series of transactions which form the basis of
                                                                         17   the charged conduct and, in any event, would be relevant to motive, intent, plan and absence of mistake.
                                                                         18   the motion is DENIED.
                                                                         19                   4.      Defendant Roy Albert Lewis’s motion in limine to exclude references to his
                                                                         20   alleged total income, assets and tax liability: Defendant moves, under FRE 403, to exclude reference
                                                                         21   to the total amount of his income, assets and tax liability, and the value of (and photographs of) his
                                                                         22   residence. He contends that since the government is “not obliged to prove the exact amount of a
                                                                         23   deficiency” in proving tax evasion, it should not allowed to introduce evidence of his income or wealth,
                                                                         24   since it might prejudice him in the eyes of jurors. He reasons that he is a dentist with a stable practice,
                                                                         25   and thus his total income “is likely higher than many, if not all, of the jurors’ individual annual incomes”
                                                                         26   and “his total assets may exceed those of individual jury members,” so that the jurors may “perceive him
                                                                         27   as a wealthy individual and may resent him for the way he has structured his tax affairs.”              The
                                                                         28   government responds that defendant is charged not only with tax evasion but also conspiracy to defraud

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                                                                         1    the US by impairing the ability of the IRS to assess and collect his taxes. The amount of defendant’s
                                                                         2    tax liability, his access to sufficient assets to pay the liability and his efforts (if any) to conceal his assets
                                                                         3    are all relevant to that charge. Further, these facts may reflect willfulness, which is a specific element
                                                                         4    of tax evasion. Finally, the government expects to prove that certain of the contractors who performed
                                                                         5    construction projects on defendant’s home were paid with direct wire transfers from defendant’s off-
                                                                         6    shore bank accounts; photographs of the home may assist in illuminating testimony on these matters.
                                                                         7    The Court finds under FRE 403 that all such evidence is far more probative than prejudicial.
                                                                         8    Defendant’s motion is DENIED.
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                                                                         10           7. Other matters: Defendant has listed two expert witnesses, a psychologist and a psychiatrist,
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United States District Court




                                                                              who would testify that defendant was “inherently susceptible” to tax evasion schemes and “easily
                               For the Northern District of California




                                                                         12   convinced” by others. Plaintiff objects on a number of bases, including relevance, inadequacy of
                                                                         13   defendant’s Rule 16 disclosures and unreliability of the proffered testimony. Further, plaintiff requests
                                                                         14   that if the testimony is to be allowed, its own experts be allowed to examine defendant and to review
                                                                         15   the underlying reports and data related to plaintiff. The Court finds that defendant’s proposed evidence,
                                                                         16   if otherwise admissible, might be relevant to good faith/willfulness. It further finds that the current Rule
                                                                         17   16 dislcosures are inadequate and orders that they must be supplemented by full reports no later than
                                                                         18   July 24, 2006; that defendant must make himself available for and cooperate with examination by
                                                                         19   plaintiff’s two proposed experts (Drs. Hall and Levy) next week; and that all reports and related data
                                                                         20   used by defendant’s experts to reach their conclusions and prepare their reports must be provided to
                                                                         21   plaintiff by July 24, 2006.
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                                                                         23           IT IS SO ORDERED.
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                                                                         25   Dated: July 19, 2006
                                                                                                                                           _____________________________
                                                                         26                                                                SUSAN ILLSTON
                                                                                                                                           United States District Judge
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